

Matter of Windspirit v Cornell (2018 NY Slip Op 03013)





Matter of Windspirit v Cornell


2018 NY Slip Op 03013


Decided on April 27, 2018


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on April 27, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., DEJOSEPH, NEMOYER, AND WINSLOW, JJ.


507 CAF 16-01562

[*1]IN THE MATTER OF JENNIFER WINDSPIRIT, PETITIONER-APPELLANT,
vCARMEN A. CORNELL, RESPONDENT-RESPONDENT. 






D.J. &amp; J.A. CIRANDO, ESQS., SYRACUSE (ELIZABETH deV. MOELLER OF COUNSEL), FOR PETITIONER-APPELLANT.
HEIDI S. CONNOLLY, SKANEATELES, FOR RESPONDENT-RESPONDENT.
SUSAN B. MARRIS, MANLIUS, ATTORNEY FOR THE CHILD. 


	Appeal from an order of the Family Court, Cayuga County (Mark H. Fandrich, A.J.), entered August 25, 2016 in a proceeding pursuant to Family Court Act article 6. The order dismissed the petition. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Entered: April 27, 2018
Mark W. Bennett
Clerk of the Court








